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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

  Case No. 8:21-CV-01675-DOC-KES                               Date: November 18, 2021

 Title: MIRNA FLAMENCO V. MERCEDES BENZ USA LLC ET AL.

 PRESENT:

                   THE HONORABLE DAVID O. CARTER, JUDGE

                Karlen Dubon                                  Not Present
               Courtroom Clerk                               Court Reporter

       ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
             PLAINTIFF:                                  DEFENDANT:
            None Present                                  None Present



       PROCEEDINGS (IN CHAMBERS): ORDER GRANTING PLAINTIFF’S
                                  MOTION TO REMAND [18]

        Before the Court is a Motion to Remand (Dkt. 18) (“Motion” or “Mot.”) brought
 by Plaintiff Mirna Flamenco (“Plaintiff”). The Court finds the matter appropriate for
 resolution without oral argument. Fed. R. Civ. P. 78; C.D. Cal. R. 715. The Court now
 GRANTS Plaintiff’s Motion.

     Plaintiff filed her original Complaint in the Orange County Superior Court on August
 13, 2021. Notice of Removal (Dkt. 1-1). On October 7, 2021, Defendant Mercedes Benz
 USA LLC (“Defendant”) removed the case to this Court. Notice of Removal. Plaintiff
 filed her First Amended Complaint (“FAC”) (Dkt. 15) on October 28, 2021. Plaintiff
 filed the instant Motion on November 8, 2021, which was set for hearing on December 6,
 2021.

     Per Local Rule 7-9, Defendant was required to file its opposition papers, if any, at
 least twenty-one days before the hearing date. See C.D. Cal. R. 7-9. Although Defendant
 did not file its Opposition, it did file a Notice Regarding Plaintiff’s Pending Motion to
 Remand (Dkt. 23). In that Notice, Defendant stated that it had been prepared to stipulate
 to the remand, but Plaintiff was unresponsive. Id. ¶ 5-9.
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                         UNITED STATES DISTRICT COURT
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   Given that both parties agree to the case’s remand, the Court hereby GRANTS the
 Motion and REMANDS the case back to the Orange County Superior Court.

       The Clerk shall serve this minute order on the parties.

                                                                 Initials of Clerk: kdu
